972 F.2d 1337
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Cesar CERANO-LUACIGA, Petitioner,v.IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 90-70615.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Nov. 8, 1991.Decided July 27, 1992.
    
      Before CHOY, WILLIAM A. NORRIS and KLEINFELD, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      This case raises the same issue of administrative notice which was controlling in the materially similar case of Castillo-Villagra, No. 90-70618.   It is reversed and remanded in accord with the decision in that case.
    
    
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3
      
    
    